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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                              )
D.V.D., et al.,                               )
                                              )
Individually and on behalf of all others      )
similarly situated,                           )
                                              )
                Plaintiffs,                   )    No. 1:25-cv-10676-BEM
                                              )
        v.                                    )
                                              )
U.S. Department of Homeland Security, et al., )
                                              )
                Defendants.                   )
                                              )
                                              )

                             DEFENDANTS’ STATUS REPORT

       Consistent with the Court’s May 21, 2025 order (ECF No. 119), Defendants file this status

report as an update to the reports they provided on May 25, 2025 and June 2, 2025. Defendants

have informed undersigned counsel of the following:

   1. All detainees that arrived in Djibouti remain there in the custody of the Department of

       Homeland Security (DHS).

   2. Immigration and Customs Enforcement (ICE) Enforcement and Removal Operations

       (ERO) has confirmed that they have provided the attorney contact information to each of

       the detainees, as requested by class counsel.

   3. ICE ERO will provide detainees with reasonable and equitable access to telephones

       consistent with ICE ERO’s National Detention Standards.
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Respectfully submitted,

 YAAKOV M. ROTH                               /s/ Matthew P. Seamon
 Acting Assistant Attorney General            MATTHEW P. SEAMON
                                              Senior Litigation Counsel
 ELIANIS N. PEREZ                             U.S. Department of Justice, Civil Division
 Assistant Director                           Office of Immigration Litigation
                                              P.O. Box 868, Ben Franklin Station
 MARY L. LARAKERS                             Washington, DC 20044
 Senior Litigation Counsel                    (202) 598-2648
                                              (202) 305-7000 (facsimile)
                                              Matthew.Seamon2@usdoj.gov




                                CERTIFICATE OF SERVICE

        I, Matthew Seamon, Senior Litigation Counsel, hereby certify that this document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants.

                                                    /s/ Matthew P. Seamon
                                                    Matthew P. Seamon
Dated: June 9, 2025                                 Senior Litigation Counsel
